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 UNPUBLISHED OPINION

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE

                                                    :
  Eli POPE, individually and on behalf of all       :
  others similarly situated,                        :
                                                    :          Civil No. 17-8373 (RBK/AMD)
                     Plaintiff,                     :
           v.                                       :          OPINION
                                                    :
  NAVIENT CORPORATION, et al.                       :
                                                    :
                    Defendant.                      :
                                                    :
                                                    :
                                                    :
  Melvin GROSS, individually and on behalf of       :
  all others similarly situated,                    :
                                                    :          Civil No. 17-11014 (RBK/AMD)
                     Plaintiff,                     :
           v.                                       :
                                                    :
  NAVIENT CORPORATION, et al.                       :
                                                    :
                    Defendant.                      :
                                                    :
                                                    :

 KUGLER, United States District Judge:

        This securities litigation class action comes before the Court on Yuri Marakhovsky’s

 Motion for Consolidation, Appointment as Lead Plaintiff, and Approval of Counsel (Doc. No. 5)

 and Navient Investor Group’s (the “Group”) Motion for Consolidation, Appointment as Lead

 Plaintiff, and Approval of Counsel. (Doc. No. 6.) In a parallel proceeding to be consolidated, Yuri

 Marakhovsky has also brought a Motion for Consolidation, Appointment as Lead Plaintiff, and

 Approval of Counsel. (Doc. No. 2.) For the reasons stated herein, Marakhovsky and the Group’s

 motions to consolidate are GRANTED, Marakhovsky’s Motions for Appointment as Lead
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 Plaintiff are DENIED and the Navient Investor Group’s Motion for Appointment as Lead Plaintiff

 and Approval as Lead Counsel is GRANTED.

    I.        THE FACTS

         This is a federal securities class action brought on behalf of a class consisting of all persons

 and entities who purchased or otherwise acquired the publicly-traded securities of Navient

 Corporation (“Navient”) from February 25, 2016 through October 4, 2017. Plaintiffs seek to

 recover compensable damages caused by Defendants’ alleged violations of federal securities laws

 and bring this action under sections 10(b) and 20(a) of the Securities Exchange Act of 1934 and

 Rule 10b-5. The complaints alleges that Defendants made materially false and misleading

 statements regarding Navient’s business, causing losses and damages among the holders of

 Navient securities.

         A class-action complaint was first filed with this Court on October 16, 2017 on behalf of

 one Eli Pope, who had bought three shares of Navient on September 15, 2017 for $13.73. A

 subsequent class-action complaint, concerning essentially the same subject matter, class, and

 allegations was filed on behalf of one Melvin Gross on November 3, 2017, a putative class member

 who had 12 shares of Navient.

         On December 15, 2017, Yuri Marakhovsky moved to appoint lead plaintiff in both the

 Pope and Gross actions, and also moved to consolidate the actions. Marakhovsky had bought 150

 shares of Navient on January 19, 2017 at $15.57. Also on December 15, 2017, Navient Investor

 Group also moved to appoint lead plaintiff and consolidate the actions. The Group consists of at

 least two individuals who purchased Navient shares: Jesse Wayne Pritchard, who bought 700

 shares on July 19, 2017 at $15.559, and Jay Montblanc, who bought 450 shares on August 9, 2016

 at $14.39.

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          Shortly after Navient Investor Group moved to be lead plaintiff, Marakhovsky submitted

 notice that he was not opposing its appointment because the Group had taken greater losses than

 Marakhovsky. (Doc. No. 7.) The Group claims losses totaling $3,114.58, much larger than

 Marakhovsky’s losses of $479.00, and we are unaware of any losses greater than those claimed by

 the Group.

    II.       CONSOLIDATION

          If actions before a court involve a common question of law or fact, the court may

 consolidate the actions. See Fed. R. Civ. P. 42(a). Rule 42 “confers upon a district court broad

 power, whether at the request of a party or upon its own initiative, to consolidate causes for trial

 as may facilitate the administration of justice.” Ellerman Lines, Ltd. v. Atl. & Gulf Stevedores, Inc.,

 339 F.2d 673, 675 (3d Cir. 1964). In like manner, the Private Securities Litigation Reform Act

 (“PSLRA”) “directs that cases should be consolidated where there is ‘more than one action on

 behalf of a class asserting substantially the same claim or claims.’” In Re Lucent Techs. Sec. Litig.,

 221 F. Supp. 2d 472, 480 (D.N.J. 2001) (quoting 15 U.S.C. § 78u-4(a)(3)(B)(ii)). Where there are

 multiple class actions filed under the PSLTRA, a court shall not appoint lead plaintiff until after it

 decides the motion for consolidation. § 78u-4(a)(3)(B)(ii).

          Neither the PSLRA nor Rule 42 requires that pending suits be identical before they can be

 consolidated. Rather, in deciding whether to consolidate actions under Rule 42(a), it must be

 considered

          whether the specific risks of prejudice and possible confusion [are] overborne by
          the risk of inconsistent adjudications of common factual and legal issues, the burden
          on the parties, witnesses, lawsuits, the length of time required to conclude multiple
          lawsuits as against a single one, and the relative expense to all concerned of the
          single-trial, multiple-trial alternatives.




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 In re Lucent Techs. Inc. Sec. Litig., 221 F. Supp. 2d 472, 480 (D.N.J. 2001) (citing In re

 Consolidated Parlodel Litig., 182 F.R.D. 441, 444 (D.N.J. 1998) (citations omitted).

           The Pope and Gross actions before this Court are essentially the same action, with the same

 class, concerning the same events. Pope alleges a class who had purchased Navient securities

 between February 25, 2016 and October 4, 2017 and was injured by alleged material

 misrepresentations; so does the Gross action. The Pope action alleges violations of Section 10(b)

 of the Exchange Act, 15 U.S.C. § 78j(b) and Rule 10b-5, and violations of Section 20(a), 15 U.S.C.

 § 78t; so does the Gross action. The Court thus finds that consolidation is appropriate and would

 facilitate the administration of justice, and grants Marakhovsky’s motion for consolidation of the

 Pope and Gross actions.

    III.         APPOINTMENT OF LEAD PLAINTIFF

           Both Marakhovsky and Navient Investor Group both seek to be appointed lead plaintiff in

 this action, although Marakhovsky does not oppose the Group’s motion because its losses are

 significantly higher than Marakhovsky’s. But while the Group’s motion is effectively unopposed,

 “[a] preliminary, fact-specific inquiry is nonetheless necessary under Rule 23 to determine whether

 the presumptively most adequate plaintiff will nevertheless betray the interests of the class.” In re

 Party City Sec. Litig., 189 F.R.D. 91, 106 (D.N.J. 1999).

           The PSLRA provides that a court “shall appoint as lead plaintiff the member or members

 of the purported plaintiff class that the court determines to be most capable of adequately

 representing the interests of class members . . . in accordance with this subparagraph.” 15 U.S.C.

 § 78u-4(a)(3)(B)(i). As relevant,

           (I)     In general. . . . the court shall adopt a presumption that the most adequate
                   plaintiff in any private action arising under this title is the person or group
                   of persons that –

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                (aa)      has either filed the complaint or made a motion in response to a
                          notice under subparagraph (A)(i);

                (bb)      in the determination of the court, has the largest financial interest in
                          the relief sought by the class; and

                (cc)      otherwise satisfies the requirements of Rule 23 of the Federal Rules
                          of Civil Procedure.

        (II)    Rebuttal evidence. The presumption described in subclause (I) may be
                rebutted only upon proof by a member of the purported plaintiff class that
                the presumptively most adequate plaintiff —

                (aa)      will not fairly and adequately protect the interests of the class; or

                (bb)      is subject to unique defenses that render such plaintiff incapable of
                          adequately representing the class.

 § 78u-4(a)(3)(B)(iii).

        As stated in subsection (a)(3)(I)(cc), the “most adequate plaintiff” must also satisfy the

 requirements of Federal Rule of Civil Procedure 23:

        One or more members of a class may sue or be sued as representative parties on
        behalf of all members only if:

        (1)     the class is so numerous that joinder of all members is impracticable;

        (2)     there are questions of law or fact common to the class;

        (3)     the claims or defenses of the representative parties are typical of the claims
                or defenses of the class; and

        (4)     the representative parties will fairly and adequately protect the interests of
                the class.

 Fed. R. Civ. P. 23(a).

        In re Cendant Corp. Litigation, 264 F. 3d 201 (3d Cir. 2001) outlines the steps a court must

 follow in appointing lead plaintiff as required under 15 U.S.C. § 78u-4(a)(3)(B) and Federal Rule

 of Civil Procedure 23(a). The Court applies that analysis here.




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             The Largest Financial Interest Requirement

         “In appointing a lead plaintiff, the court's first duty is to identify the movant that is

 presumptively entitled to that status. The process begins with the identification of the movant with

 ‘the largest financial interest in the relief sought by the class.’” In re Cendent, 264 F.3d at 262.

 “The Third Circuit has concluded that [the] ‘largest financial interest’ means the largest loss.” In

 re Able Labs. Sec. Litig., 425 F. Supp. 2d 562, 567 (D.N.J. 2006) (citing In re Cendent, 264 F.3d

 at 223). In making this determination, “courts should consider, among other things: (1) the number

 of shares that the movant purchased during the putative class period; (2) the total net funds

 expended by the plaintiffs during the class period; and (3) the approximate losses suffered by the

 plaintiffs.” 264 F.3d at 262.

         During the proposed class period, Navient Investor Group (1) purchased 1150 shares (2)

 for a total of $10,891.03 and (3) allegedly suffered a loss of $3,114.58. By contrast, Marakhovsky

 (1) purchased 150 shares (2) for a total of $2,335.50 and (3) allegedly suffered a loss of $479.00.

 Based on the information before the Court, we find that the Group has the largest financial interest

 in the relief sought by the class.

             Rule 23 Requirements

         “Once the court has identified the movant with ‘the largest financial interest in the relief

 sought by the class,’ it should then turn to the question whether that movant ‘otherwise satisfies

 the requirements of Rule 23 of the Federal Rules of Civil Procedure,’ and is thus the presumptively

 most adequate plaintiff.” In re Cendent, 264 F.3d at 263-264 (quoting 15 U.S.C. § 78u-

 4(a)(3)(B)(iii)(I) (cc)). This “inquiry . . . should be confined to determining whether the movant

 has made a prima facie showing of typicality and adequacy.” Id. This assessment “should be a

 product of the court's independent judgment,” but “need not be extensive.” Id.

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           “In conducting the initial inquiry as to whether the movant with the largest losses satisfies

 the typicality and adequacy requirements, the court may and should consider the pleadings that

 have been filed, the movant's application, and any other information that the court requires to be

 submitted.” Id. “When making these determinations, courts should apply traditional Rule 23

 principles.” Id.

           [I]n inquiring whether the movant has preliminarily satisfied the typicality
           requirement, they should consider whether the circumstances of the movant with
           the largest losses “are markedly different or the legal theory upon which the claims
           [of that movant] are based differ[ ] from that upon which the claims of other class
           members will perforce be based.”

           In assessing whether the movant satisfies Rule 23's adequacy requirement, courts
           should consider whether it “has the ability and incentive to represent the claims of
           the class vigorously, [whether it] has obtained adequate counsel, and [whether]
           there is [a] conflict between [the movant's] claims and those asserted on behalf of
           the class.”

 Id. (alterations in original) (quoting Hassine v. Jeffes, 846 F.2d 167, 177, 179 (3d Cir. 1988)). “In

 making the initial adequacy assessment in this context, courts should also . . . inquire whether the

 movant has demonstrated a willingness and ability to select competent class counsel and to

 negotiate a reasonable retainer agreement with that counsel.” Id. Furthermore, when the plaintiff

 is a group, as here, “[i]f the court determines that the way in which a group seeking to become lead

 plaintiff was formed or the manner in which it is constituted would preclude it from fulfilling the

 tasks assigned to a lead plaintiff, the court should disqualify that movant on the grounds that it will

 not fairly and adequately represent the interests of the class.” Id. at 266. Courts should also

 consider whether a movant group is too large to adequately represent the class, and should consider

 any other reasons indicating the adequacy or typicality requirement has not been satisfied. See id.

 at 268.




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        Navient Investor Group is a typical plaintiff. The typicality requirement is satisfied when

 the named plaintiff has (1) suffered the same injuries as the absent class members, (2) as a result

 of the same course of conduct by defendants, and (3) their claims are based on the same legal

 issues. Blake Partners, Inc. v. Orbcomm, Inc., 2008 WL 2277117, at *6 (D.N.J. June 2, 2008)

 (citing Weiss v. York Hosp., 745 F.2d 786, 809 & n.36 (3d Cir. 1984)). As a securities action, the

 parties are affected by the same event; the crux of this case will be Defendants’ alleged

 misrepresentations to the public at large. Nothing suggests Navient Investor Group’s case will be

 uniquely affected by this inquiry. We therefore find that the Group satisfies the typicality

 requirement of Rule 23.

        As to adequacy, Navient Investor Group appears to have both the ability and incentive to

 represent the purported class vigorously. Further, the Group has obtained what this Court finds to

 be adequate counsel experienced in federal securities litigation with a record of favorable verdicts

 for clients in the past. Finally, there does not appear to be a conflict between the Group’s claims

 and those of the purported class; the two persons composing the Group, Pritchard and Montblanc,

 have certified under penalty of perjury that they will not accept any payment beyond a pro-rata

 share of recovery beyond that ordered or approved by the Court for serving as a representative

 party. At this stage of appointing lead plaintiff pursuant to the PSLRA, we therefore find that

 Navient Investor Group satisfies the adequacy requirement of Rule 23.

            Presumption Not Rebutted

        “Once a presumptive lead plaintiff is located, the court should then turn to the question

 whether the presumption has been rebutted.” In re Cendent, 264 F.3d at 268. However, “[i]f no

 class member succeeds in rebutting the presumption, then the district court should appoint the

 presumptive lead plaintiff as the lead plaintiff.” Id. There is presently no challenge to the

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 appointment of Navient Investor Group as lead plaintiff. Accordingly, the presumption of

 adequacy stands. See, e.g., In re Party City Sec. Litig., 189 F.R.D. at 112 (“Absent such a

 challenge, the presumption of adequacy will generally survive.”); Zuckerman v. Foxmeyer Health

 Corp., No. 96-2258, 1997 WL 314422, at *2 (N.D. Tex. Mar. 26, 1997) (“No purported class

 member has presented evidence to rebut this presumption. Therefore, the Court will appoint the

 movants as lead plaintiffs.”).

          As Navient Investor Group appears to have the largest financial interest, has satisfied the

 Rule 23 requirements, and the presumption that Navient Investor Group is the most adequate

 plaintiff has not been rebutted, the Court will appoint the Group as lead plaintiff in this

 consolidated action.

    IV.      APPOINTMENT OF LEAD COUNSEL

          Finally, the Court addresses the appointment of lead counsel. 15 U.S.C. § 78u-4(a)(3)(B)(v)

 provides that “[t]he most adequate plaintiff shall, subject to the approval of the court, select and

 retain counsel to represent the class.” As the Court finds Navient Investor Group is the most

 adequate plaintiff, this task falls to it. The Group moves for approval of its selection of the law

 firm of Levi & Korsinsky, LLP as lead counsel for the class. While the motion to approve this firm

 as lead counsel is unopposed, this Court has a separate, independent obligation to assess the

 Group’s selection of counsel on behalf of the class.

          There is “a strong presumption in favor of approving a properly-selected lead plaintiff's

 decisions as to counsel selection and counsel retention.” In re Cendant Corp. Litig., 264 F.3d at

 276. “When a properly-appointed lead plaintiff asks the court to approve its choice of lead counsel

 and of a retainer agreement, the question is not whether the court believes that the lead plaintiff

 could have made a better choice or gotten a better deal.” Id. Rather, “the court's inquiry is

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 appropriately limited to whether the lead plaintiff's selection and agreement with counsel are

 reasonable on their own terms.” Id. The Third Circuit considers the following factors in deciding

 whether the selection of lead plaintiff’s counsel is appropriate:

          (1) the quantum of legal experience and sophistication possessed by the lead
          plaintiff; (2) the manner in which the lead plaintiff chose what law firms to
          consider; (3) the process by which the lead plaintiff selected its final choice; (4) the
          qualifications and experience of counsel selected by the lead plaintiff; and (5) the
          evidence that the retainer agreement negotiated by the lead plaintiff was (or was
          not) the product of serious negotiations between the lead plaintiff and the
          prospective lead counsel.

 Id. at 276.

          Levi & Korsinsky is clearly capable of handling this matter—the firm has extensive

 experience in private securities litigation and has received numerous favorable judgments in its

 past representations. In any event, its appointment as lead counsel is unopposed. And although we

 do not know how or why Navient Investor Group, or its constituents Pritchard and Montblanc,

 came to select Levi & Korsinsky as its counsel, the Court is satisfied that the certifications of

 Pritchard and Montblanc establish that the Group’s choice of counsel comports with a good-faith

 selection and negotiation process. We therefore approve Levi & Korsinsky, LLP as lead plaintiff’s

 counsel. The motion is granted.

     V.        CONCLUSION

          For the reasons stated herein, the Group’s motion is GRANTED and Yuri Marakhovsky’s

 motion is GRANTED in part and DENIED in part. An order follows.



 Dated: February 2, 2018                                         /s Robert B. Kugler
                                                                 ROBERT B. KUGLER
                                                                 United States District Judge




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